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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MARYLAND

IN RE:

ELIZABETH PIRZCHALSKI CASE NO. 18-23159 YJC

DEBTOR CHAPTER 13

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INDEPENDENT MORTGAGE COMPANY, INC

Movant

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ELIZABETH PIRZCHALSKI a ~
Debtor =
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STEVEN C, PIRZCHALSKI =
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Co-Debtor
ROBERT S. THOMAS, I]
Chapter 13 Trustee

Respondents

RE SE TO MOTIO RELIEF FROM A ST
NOW COMES, Co-Debtor, Steven C. Pirzchalsk, files this Response to Motion For
Relief from Automatic Stay in the above referenced matter, and in support thereof,

state as follows:
 

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1. As to paragraph 1: Admit:

2. As to paragraph 2: Cannot Admit or Deny

3. As to paragraph 3 and paragraph 4: Admit

4, As to paragraph 5: Deny.

5. As to paragraph 6: Admit

6. As to paragraph 7: Cannot Admit or Deny.

7. As to paragraph 8: Deny. Movant statements are not accurate. Additionally,
Movant uses old dated material (Exhibit 3) in his pleadings. Attached Co-
debtor's Exhibit 6 dated July 3, 2019, sent by Movant shows a mortgage
payoff of $65,999.36. Co-debtor’s Exhibit 6 provided by Movant is also not
accurate and does not reflect all $97,000.00 paid towards the mortgage note
at issue.

8. As to paragraph 9: Admit.

9, As to paragraph 10: Cannot Admit or Deny.

10. As to paragraph 11: Deny. The Trustee has paid over $19,000 and the Co-
debtor has paid $77,224.01 towards (Exhibits 1 through 5) the $75,000
mortgage note dated May 29, 2015. Combined $97,000 approximately has
been paid towards this $75,000.00 mortgage note.

11. As to paragraph 12: Cannot Admit or Deny.

12. As to paragraph 13: Deny. There are no pre-petition arrears. This mortgage
note is not part of the bankruptcy plan or case. Additionally, the information
on Movant's Exhibit 4 is inaccurate.

13. As to paragraph 14: Deny. There are no post-petition arrears. This mortgage
note lies outside the bankruptcy plan and case. Additionally, the information
on Movant's Exhibit 5 is inaccurate.

14, As to paragraph 15: Admit.

15. As to paragraph 16: Cannot Admit or Deny.

16. As to paragraph 17 and 18: Deny. The value of the property currently is

between $200,000 and $250,000. There is a large equity cushion on behalf of
the co-debtor.
 

 

 

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Additionally, Co-Debtor states the following:

1. The Debtor and Co-Debtor have tried since January 2017 to get an
accounting and payoff from Movant (Co-Debtor’s Exhibit 7).

2. Movant has ignored repeated requests from officers inside and outside of
the Bankruptcy Court to give accurate accounting, escrow information,
and payoff information to the harm of the Debtor and Co-Debtor.

3. Movant's use of withholding a large sum for an escrow from the

mortgage payment, without ever applying funds from the escrow account
until this past year was fraudulent.

4, Movant has refused to provide any monthly payment statements for the
past three years approximately.

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Movant has filed pleadings that are knowingly inaccurate and has
resulted in costly legal fees for the Co-Debtor.

WHEREFORE, THE CO-DEBTOR prays that this Court enter an Order:

a: Deny the Motion to Lift Automatic Stay;

b: Order an accurate accounting showing all monies paid to the Movant by Trustee
and Co-Debtor, and the correct application of payments as to interest and principal
and escrow;

c: Order an Escrow Analysis and apply those monies to the mortgage principal;

d: Order a mediation session to determine an accurate payoff for this mortgage note;

e: Grant any such further relief as deemed necessary, including legal fees;

Respectfully submitted,

Stey iyzchalski, pro se
I Ea 1 a

Co-Debtor

Steven C. Pirzchalski
237 Grindall Street
Baltimore, MD 21230
(410)-991-8250

 
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Certificate of Service

| Hereby Certify that a copy of the foregoing response was sent this 6t day of
February 2020 via first class, postage prepaid mail to:

Gordon B. Heyman

Alliant Legal Group

6 Reservoir Circle, Suite 203
Baltimore, MD 21208
Creditor’s Counsel

Robert S. Thomas II

300 E. Joppa Rd, Suite 409
Towson, MD 21286

Chapter 13 Bankruptcy Trustee

Gerard Vetter

Office of the United States Trustee
101 West Lombard Street

Suite 2625

Baltimore, MD 21201

US Trustee

Jeffrey M. Sirody, Esq.

Jeffrey M. Sirody and Associates, P.A.
1777 Reisterstown Road Suite 360 E
Baltimore, MD 21208

Debtor’ Attorney

Independent Mortgage Company, Inc.
1726 Reisterstown Road, Suite 209
Baltimore, MD 21208

Creditor

Elizabeth M. Pirzchalski
6130 Elston Shore Road
POB 505

Neavitt, MD 21652
Debtor

AA ap,

“Steven C. Pirzchalski
 

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IMcC
1726 Reisterstown Rd
Suite 209
Baltimore, MD 21208
(410) 415-7100

LOAN WORKSHEET

July 03, 2019

STEVEN & ELIZABET PIRZCHALSKI
6130 ELSTON SHORE RD
NEWVITT MD 21652

LOANLEDGER loan number
Payoff date

Paid through

Maturity date

Annual interest rate
Daily interest rate
Daily interest amount

Principal balance
Accrued interest

Accrued late charges
Returned check fee

Reserve
Impound

Prepayment penalty
Demand fees

Recording fee
Forwarding fee
Reconveyance fee

Foreclosure fee
Other fees
Impound Over/Short Balance

07/03/19
03/01/19
06/01/30

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$65,999,%
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HyYLanp Law Firm, LLC

16 E LompBarD Street, Surre 400
BaLTimore, MARYLAND 21202
(410) 777-5396 Orrice

(410) 777-8237 Fax
WWW.LAWHYLAND,COM

KATHLEEN P, HyLAND
(410) 777-8536 Direct
KAT@LAWHYLAND.COM

 

CONFIDENTIAL ~ FOR SETTLEMENT PURPOSES ONLY
April 26, 2017
SENT VIA U.S. MAIL AND ELECTRONIC MAIL TO: gheyman@alliantlegal.com

 

Gordon B. Heyman

Alliant Legal Group, LLC

6 Reservoir Circle, Suite 203
Baltimore, MD 21208

RE: Independent Mortgage Company, Inc. v. Pirzchalski, et al,
Case No. 24-0-16-00046, Circuit Court for Baltimore County

Dear Mr. Heyman,

This office represents Mr. Steven C. Pirzchalski in the above-captioned matter.
The purpose of this letter is to attempt to resolve the pending foreclosure matter
out-of-court.

In my review of this matter, it appears that Mr. Pirzchalski and his mother, Co-
Defendant Elizabeth M. Pirzchalski, have defenses they have not yet raised. Most
significantly, the Defendants contest the fact that Plaintiff has filed the instant
lawsuit as though the property was “non-owner occupied.” As the Plaintiff is
aware, the property subject to this dispute, located at 237 Grindall Street,
Baltimore, Maryland 21230, has been owner-occupied since November 1, 2015.

This status creates several important rights in a foreclosure action that the
Plaintiff has ignored, Under Md. Code Ann., Real Prop. § 7-105.1, “owner-
occupied residential property” means residential property in which at least one
unit is occupied by an individual who: (i) Has an ownership interest in the
property; and (ii) Uses the property as the individual's primary residence.” For
an owner-occupied residential property, the notice of intent to foreclose and the
order to docket must include loss mitigation forms and options, enumerated in
great detail under RP § 7-105.1, which then trigger the homeowner’s rights to
mediation. None of those requirements were met here. Because the Defendants’
property is owner-occupied, the Plaintiff erred on J anuary 1, 2016, when it filed
the Petition for Immediate Foreclosure, and further when it represented to the
Court that the owner-occupied status did not matter. See Memorandum in
Support, p. 2. On this basis alone, the entire foreclosure action should be
dismissed.
 

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Based on our recent telephone conversation, I understand that the Plaintiff seeks
to sidestep the issue of owner-occupied status by alleging that this case involves a
commercial loan. The Defendants disagree with this assessment. First, under
the Maryland Mortgage Lender Law, a commercial loan for $75,000 or less that
is made in the name of an individual must include “independent evidence of
commercial purpose” prior to the making or procurement of the loan. Here, the
Plaintiff has not provided “independent evidence of commercial purpose,” ~ and
likely cannot — because the Defendants are consumers who obtained this
mortgage for their own personal use. At best, the case file includes an
assignment of future rent payments from Ms. Pirzchalski, which she signed
simultaneously, not prior to, the making of the loan. This appears to be the only
evidence of any allegedly commercial use.

Even the fact that the Pirzchalskis rented the property to tenants at the time they
signed the Promissory Note does not establish a commercial purpose. In
Thompson v. JP Morgan Chase Bank, N.A., No. CIV. WDQ-13-1982, 2014 WL
4269060 (D. Md. Aug. 27, 2014), the Court found that homeowners who rented
out their property at the time when they executed a Note were still arguably
“consumers” under Maryland law. Like the Pirzchalskis, the Thompsons had
leased out a second family property, but were not considered commercial
landlords. Here, the Court will likely find that the Pirzchalskis are consumers in
this dispute who should have been afforded basic protections. In addition, a
Court decision of “consumer status” would also call into question whether the
Plaintiff has lawfully abided by other relevant consumer statutes, such as
licensing, in relation to both loan origination and debt collection, and the high |
initial loan fees.

In the interest of avoiding further time and expense litigating these issues in
Court, Mr. Pirzchalski offers to make a payment of $50,000.00, in full and final
resolution of this matter and exchange for dismissal of the foreclosure lawsuit
with prejudice against both Defendants. This amount would cover the principal
amount of the loan extended on their behalf to the Bankruptcy Trustee.

In addition, by way of this letter, we also request a full accounting for this loan,
including all payments made on the Defendants’ behalf and any monies allegedly
owed.

Please advise on how your client wishes to proceed.

Sincerely,

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Kathleen P. Hyland, Esq.
